        Case 21-21941-TPA                           Doc         Filed 12/07/21 Entered 12/07/21 15:38:11                                        Desc Main
                                                                Document      Page 1 of 7
 Fill in this information to identify the case:

 Debtor 1                  Jeffrey M. Dolmajer
 Debtor 2                  Nicole S. Dolmajer
 (Spouse, if filing)
                           aka Nicole Jonczak-Dolmajer

 United States Bankruptcy Court for the:            Western         District of           Pennsylvania
                                                                                             (State)
 Case number                                     21-21941-TPA



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                           12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:                 The Money Source Inc.                                                Court claim no. (if known):                      11-1

Last four digits of any number you use to                                                              Date of payment change:
identify the debtor's account:                                                    5834                 Must be at least 21 days after date of       01/01/2022
                                                                                                       this notice



                                                                                                       New total payment:
                                                                                                       Principal, interest, and escrow, if any $1,629.97

Part 1:                Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?
     No
     Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
              the basis for the change. If a statement is not attached, explain why:

                          Current escrow payment:         $546.52                                      New escrow payment:            $631.93

Part 2:                Mortgage Payment Adjustment

 2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's variable-
    rate account?
     No
     Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why:

                         Current interest rate:                                       %                New interest rate:                               %

                         Current principal and interest payment                   $                    New principal and interest payment:      $

Part 3:                Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                agreement. (Court approval may be required before the payment change can take effect.)
                         Reason for change:
                         Current mortgage payment:              $                                       New mortgage payment:         $




Official Form 410S1                                                 Notice of Mortgage Payment Change                                                       Page 1
PmtChgForm1215
2225-N-4875
      Case 21-21941-TPA                          Doc       Filed 12/07/21 Entered 12/07/21 15:38:11                             Desc Main
                                                           Document      Page 2 of 7
Debtor 1                                        Jeffrey M. Dolmajer                           Case Number (if known)           21-21941-TPA
                         First Name              Middle Name           Last Name



Part 4:        Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and t elephone number.
Check the appropriate box.
                        I am the creditor.

                        I am the creditor's authorized agent.


I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.


     /s/ Matthew Tillma                                                                 Date      12/07/2021
      Signature


Print:            Matthew Tillma                                                          Title    Authorized Agent for The Money Source Inc.
                   First Name            Middle Name             Last Name


Company           Bonial & Associates, P.C.


Address           14841 Dallas Parkway, Suite 425
                  Number                Street

                  Dallas, Texas 75254
                  City                  State                   Zip Code


Contact phone             (972) 643-6600                           Email     POCInquiries@BonialPC.com




Official Form 410S1                                            Notice of Mortgage Payment Change                                                Page 2
PmtChgForm1215
2225-N-4875
Case 21-21941-TPA              Doc      Filed 12/07/21 Entered 12/07/21 15:38:11                      Desc Main
                                        Document      Page 3 of 7


            CERTIFICATE OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE


I hereby certify that a true and correct copy of the foregoing document has been served upon the following parties in
interest on or before December 07, 2021 via electronic notice unless otherwise stated.

Debtor               Via U.S. Mail
Jeffrey M. Dolmajer
1222 Davis Street
Natrona Heights, PA 15065


Debtor               Via U.S. Mail
Nicole S. Dolmajer
1222 Davis Street
Natrona Heights, PA 15065


Debtors' Attorney
Mark B. Peduto
Calaiaro Valencik
938 Penn Avenue
Suite 501
Pittsburgh, PA 15222


Chapter 13 Trustee
Ronda J. Winnecour
Suite 3250, USX Tower
600 Grant Street
Pittsburgh, PA 15219



                                                      Respectfully Submitted,
                                                      /s/ Matthew Tillma




PAYMENT CHANGE NOTICE - CERTIFICATE OF SERVICE                                                           2225-N-4875
                                                                                                     PmtChgCOS_0001
Case 21-21941-TPA   Doc   Filed 12/07/21 Entered 12/07/21 15:38:11   Desc Main
                          Document      Page 4 of 7
Case 21-21941-TPA   Doc   Filed 12/07/21 Entered 12/07/21 15:38:11   Desc Main
                          Document      Page 5 of 7
Case 21-21941-TPA   Doc   Filed 12/07/21 Entered 12/07/21 15:38:11   Desc Main
                          Document      Page 6 of 7
Case 21-21941-TPA   Doc   Filed 12/07/21 Entered 12/07/21 15:38:11   Desc Main
                          Document      Page 7 of 7
